 Case 18-11840          Doc 37  Filed 07/18/18 Entered 07/18/18 10:29:21          Desc Main
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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS
                                     EASTERN DIVISION

In Re:
                                                            Case No. 18-11840-MSH
KAREN R. MERRITT,                                                (Chapter 13)
DEBTOR

                             MOTION FOR ALTERNATIVE SERVICE
                             Request for Expedited Determination

To the Honorable Melvin S. Hoffman, United States Bankruptcy Judge:

         Pursuant to Federal Rules of Bankruptcy Procedure (“FRBP”) 7004(b), and

7004(b)(3) Federal Rules of Civil Procedure (“FRCV”) 4(e)(1) and 4(h), made applicable

to these proceedings by FRPB 7004, Massachusetts Rules of Civil Procedure (“MRCP”)

4(d(2) and M.G.L. c. 223, § 37, PENSCO Trust Company Custodian, f/b/o James P.

Tiernan IRA (“Tiernan IRA”), and PENSCO Trust Company Custodian, f/b/o Richard J.

Fagan (“Fagan IRA”), secured creditors in the above-captioned bankruptcy case

(collectively “the IRAs”), respectfully request this Honorable Court to allow the IRAs to

effectuate service of the IRAs Motion for Relief from Automatic Stay and Co-debtor Stay

(“Motion for Relief”) upon interested party, Haddon-Lincoln Mercury, Inc. (“Haddon”), an

entity which on information and belief is now dissolved and no longer in business, by

sending the attached Order of Notice via certified mail, return receipt requested to

Haddon’s former President, John B. Haddon.

              IN SUPPORT of this Motion, the IRAs state as follows:

         1.       Haddon is an interested party and lienholder in this action by way of an

Execution issued against the Non-Filing Co-Debtor, James Cronan, in the amount of

$20,704.04 recorded in the chain of title on the subject property against which the IRAs

seek relief from the automatic stay and co-debtor stay to foreclose. A copy of the recorded

Execution is attached hereto and incorporated herein by reference as Exhibit “1.”
